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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 __________________________________

 UNITED STATES OF AMERICA


                 V.                                                20-CR-661 (CM)
                                                              SCHEDULING ORDER
 Amir Bruno Elmaani,

                           Defendant.
______________________________________

 McMahon, J.:


        The Court will hold a remote telephone/video-status conference in this matter,

 Wednesday, July 14, 2021, at 10:00 a.m.

        The public and press may listen to the proceeding by telephone at: 888-363-4749;

 the access code to enter when prompted is 9054506.

 July 13, 2021



                                                      Colleen McMahon
                                                      District Court Judge
